                      Case 18-15891-LMI        Doc 87    Filed 08/20/18     Page 1 of 1
Form ATYHRG



                             United States Bankruptcy Court
                                       Southern District of Florida
                                         www.flsb.uscourts.gov
                                                                                   Case Number: 18−15891−LMI
                                                                                   Chapter: 7
In re:
Maurice Symonette
PO Box 222692
Hollywood FL 33022
SSN: XXX−XX−9067




                                        NOTICE OF HEARING

NOTICE IS HEREBY GIVEN that a hearing will be held on 09/12/2018 at 09:30AM at the following location:

C. Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 8 (LMI), Miami, FL 33128

to consider the following:

[86] Motion to Extend Time to File Section 727 Complaint Objecting to Discharge of Debtor(s) Filed by
Trustee Joel L Tabas. (Tabas, Joel)

THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and shall
file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who fails to
properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities. Electronic
devices, including but not limited to cameras, cellular phones (including those with cameras), iPads, tablets,
pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are not permitted in
the courtroom, chambers or other environs of this court. These restrictions (except for cameras not
integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar identification card,
attorneys who have been authorized to appear by pro hac vice order and witnesses subpoenaed to appear in
a specific case. No one is permitted to bring a camera or other prohibited electronic device into a
federal courthouse facility except with a written order signed by a judge and verified by the United
States Marshal's Service. See Local Rule 5072−2.

Dated: 8/20/2018
                                                        By: Joel L Tabas
